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     U.S. Department of Justice
 2   Environmental Defense Section
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 6
     Attorney for Defendant Michael S. Regan,
 7   in his official capacity as Administrator
     of the United States Environmental Protection Agency
 8
 9   [additional counsel listed in signature block]

10                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF CALIFORNIA
11
                                    SAN FRANCISCO DIVISION
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14   CENTER FOR BIOLOGICAL DIVERSITY
     et al.,
15                                                       Case No. 3:22-cv-00052-WHO
                             Plaintiffs,
16
17                    v.
                                                JOINT STIPULATION AND
18   MICHAEL S. REGAN, in his official capacity ORDER
     as the Administrator of the United States
19   Environmental Protection Agency,
20
                             Defendant.
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22
             Pursuant to Civil L.R. 6-1(b), Defendant Michael S. Regan, in his official capacity as
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     the Administrator of the United States Environmental Protection Agency (“EPA”), and the
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     Center for Biological Diversity and the Center for Environmental Health (“Plaintiffs”) stipulate
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     to and request that the Court enter an order indefinitely holding in abeyance briefing on
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     Plaintiffs’ claim for attorneys’ fees and costs. In support of this stipulation, the parties state as
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     follows:
28


                                                                   JOINT STIPULATION AND [PROPOSED] ORDER
                                                                              CASE NO. 3:22-CV-00052-WHO
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 1           1.      On February 21, 2023, the Court entered a consent decree resolving the
 2   substantive claims in this case. Dkt. No. 28 (the “Consent Decree”). However, the Consent
 3   Decree did not resolve Plaintiffs’ claim for costs of litigation. The order extended the deadline
 4   for filing a motion for costs of litigation until ninety days after entry of the order, i.e., until
 5   May 22, 2023.
 6           2.      The parties sought an extension of time until August 21, 2023 for Plaintiffs to
 7   file a motion for costs of litigation in order to negotiate a resolution of Plaintiffs’ claim without
 8   Court intervention. See Dkt. No. 29. The Court granted the parties’ request on May 24, 2023.
 9   See Dkt. No. 30.
10           3.      The parties resolved Plaintiffs’ claim for costs of litigation, including attorneys’
11   fees, by a settlement agreement with an effective date of August 1, 2023. Plaintiffs’ payment is
12   currently pending.
13           4.      Once Defendant has taken all actions required in paragraphs 1 and 3 of the
14   Consent Decree (the last of which must be completed by September 30, 2023), this matter shall
15   be dismissed with prejudice and the Consent Decree will terminate pursuant to paragraph 4 of
16   the Consent Decree. Dkt. 28 § 5.
17           5.      Therefore, the parties stipulate to and request that the Court enter an order
18   indefinitely holding in abeyance briefing on Plaintiffs’ claim for attorneys’ fees and costs.
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                                                                    JOINT STIPULATION AND [PROPOSED] ORDER
                                                                               CASE NO. 3:22-CV-00052-WHO
          Case 3:22-cv-00052-WHO Document 32 Filed 08/21/23 Page 3 of 4




 1   Respectfully submitted,
 2   Date: August 18, 2023
                                        /s/ Jeffrey Hughes
 3                                      JEFFREY HUGHES (N.Y. Bar No. 5367214)
 4                                      United States Department of Justice
                                        Environment & Natural Resources Division
 5                                      P.O. Box 7611
                                        Washington, D.C. 20044
 6                                      Tel: (202) 532-3080
 7                                      Email: jeffrey.hughes@usdoj.gov

 8
                                        Attorney for Defendant
 9
10
                                        /s/ Victoria Bogdan Tejeda
11                                      Victoria Bogdan Tejeda (CA Bar No. 317132)
                                        Center for Biological Diversity
12                                      1212 Broadway, Suite 800
13                                      Oakland, CA 94612
                                        Tel: (724) 317-7029
14                                      Email: vbogdantejeda@biologicaldiversity.com
15                                      Robert Ukeiley (Pro Hac Vice)
16                                      Center for Biological Diversity
                                        1536 Wynkoop Street, Suite 421
17                                      Denver, CO 80202
                                        Tel: (720) 496-8568
18                                      E-mail: rukeiley@biologicaldiversity.org
19
                                        Attorneys for Plaintiffs
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     PURSUANT TO STIPULATION, IT IS SO ORDERED.
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22
23   DATED:     August 21, 2023
                                        WILLIAM H. ORRICK
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                                        United States District Judge
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                                                      JOINT STIPULATION AND [PROPOSED] ORDER
                                                                 CASE NO. 3:22-CV-00052-WHO
          Case 3:22-cv-00052-WHO Document 32 Filed 08/21/23 Page 4 of 4




 1                                       ECF ATTESTATION
 2          In accordance with Civil Local Rule 5-1(h)(3), I, Jeffrey Hughes, attest that I have
 3   obtained concurrence in the filing of this document from all other signatories listed here.
 4
 5                                                        /s/ Jeffrey Hughes
 6                                                        Jeffrey Hughes
                                                          United States Department of Justice
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                                                                                       ECF ATTESTATION
                                                                           CASE NO. 3:22-CV-00052-WHO
